                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

 ARTHUR M. LOVE,                                    *

                   Plaintiff,                       *

          v.                                        *       No. 1:21-CV-02029

 LARRY HOGAN, et al.,                               *

                   Defendants.                      *

 *    *        *   *    *       *   *   *   *   *   *   *     *   *   *   *     *   *   *   *   *

                            DEFENDANTS’ MOTION TO DISMISS

      Defendants, Gov. Larry Hogan, Lt. Gov. Boyd Rutherford, Steven McAdams,

Allison Mayer, Mona Vaidya, Shareese Churchill, Matthew A. Clark, and the State of

Maryland, by their attorneys and pursuant to Rules 12(b)(1) and 12(b)(6) of the Federal

Rules of Civil Procedure, hereby move to dismiss the complaint filed against them by

plaintiff. The grounds for this motion are set forth in the Memorandum of Law filed

herewith and incorporated by reference herein.

      WHEREFORE, for the reasons stated herein, defendants respectfully request that

plaintiff’s complaint be dismissed with prejudice.




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                    Respectfully submitted,

                    BRIAN E. FROSH
                    Attorney General of Maryland

                    /s/ Robert A. Scott
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December 22, 2021   Attorneys for Defendants




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                            CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 22nd day of December 2021, a copy of the

foregoing Defendants’ Motion to Dismiss, accompanying Memorandum of Law, and

Proposed Order were sent by first class mail, postage prepaid, to:

       Mr. Arthur M. Love
       2064 Lake Grove Lane
       Crofton, Maryland 21114
       Pro Se Plaintiff

       John Pierce, Esquire
       PIERCE BAINBRIDGE P.C.
       355 S. Grand Avenue, 44th Floor
       Los Angeles, California 90071
       Attorneys for Plaintiff (pending admission)

and a copy was sent via CM/ECF to:

       Jeffrey Edward McFadden, Esquire
       Fed. Bar No. 08738
       jmcfadden@jmcfaddenlaw.com
       LAW OFFICES OF JEFFREY E. MCFADDEN
       312 Prospect Bay Dr. East
       Grasonville, D.C. 21638
       Former Attorneys for Plaintiff

and a courtesy copy will be sent within one business day to:

       The Honorable Richard D. Bennett
       UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MARYLAND
       ATTN: Clerk’s Office for the Honorable Richard D. Bennett
       101 West Lombard Street
       Chambers 5D
       Baltimore, Maryland 21201

                                          /s/ Robert A. Scott
                                          ___________________________________
                                          Robert A. Scott

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